 

Case 8-19-71382-ast

DOC 3 Filed 02/26/19 Entered 02/26/19 17206:23
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

x
In re:

l Case No. 5'* [q _;43€2_ ,.`QS+_
660',3€_ wa#-» Chapter: q-

Debtor(s)

X

APPLICATION IN SUPPORT OF

ORDER TO SHOW CAUSE
To the Hon. 79/“',7 ‘S ‘ Tro$.+ _, Bankruptcy Judge;

 

I H/OY) S)j€€i'r`lj`.' , Movant herein, make this application in support
of my Order o Show C

_ allie to eek ntry of an Order to:
CGQ /;rr) ha /)€rp
Ql/ 193

 

f )‘s no &Tcay 'p<>f`

 

 

ln support of the relief re feste , Ihere y alle e as fol oWs:
0

f
f`
p..

 

 

 

 

d"€_S C
l /“l'n 2 alj
l . +. e _ r.
l`€cj¢'@l/P¢,/ %M»e 3 ' ` '
’ OV_`$ /L ' ' '0 __ //`
lr)`a § J,')o r`fr. , 6 '€'5 (v, V Of‘
g .

 

requested.

B : 1
y b(ignature ofmovant) 91

35 ' f ~ 61 §77 71 '7[ (“

§*_ :r wis Type OrPrthame.' Oh tv @F f`/
'..;T 32 .
§§§§ (: § 'Ada’ress.' 530 g}‘g:l' -C+. £>GF` v)>d
§§§§ <C\D' ¢;3 j/X,/\/Y [OO'Z,/

§§&i=¢ uu: 143

<I.\'- F»§f .

mfg 2 “"“'”`

U°_u.\ 53

 

» 14 /sz`emj;gcz!. .L ,m
lam 10 J/a;g Q:QJ a_sL/',

L)Océ§c -lo eoha@¢`m -H\c.i~ (~)~v.r€/ 15 hO 363

7 .
WHEREFORE, Movant prays for the entry of an Order to Show Cause granting the relief

  

 

wd)>§`
?BOM \~W® s

 

 

 

99
MO

 

Telephone Number: <_7"' g> g iO "3§3 3

aj Oh LB@ch/¢`i .Q o m

_‘b

CaS€ 8-19-71382-&8'[ DOC 3 Filed 02/26/19 Entered 02/26/19 17206:23

'¥ (0€7£/”(/9¢/ HW//r»ailjzr) /m SC)V,VGML

, Or`:ji¢>r":iLO jLQvJ;)niA) (.C?C/§Q CGS’€
}’)l/mber: Y~/F?"' "'7'4:5 §§ rq$ 14

 

 

erH~er mm f i,i/oi//J YIL¢ fi[O 05 ihch
-,iLo Weé<ilof_(‘ lmiira f J+oilemewj 011 g&rh/>
/10/1 pair+ /;\ fi)/if /{%h M//icf£` @Q:%Or`§ '

    
     

5`0,¢00<>'46@60@ @X!)i° .L,. § _.
. <@/ ‘
5 ow.§ ' r\ /i Ju /

0
sicksz gxhi'l,ik c%). o *
A/;§Q AL`QZ;J /;: e><li_ _ »

ivan //0/20/’)0/@ . /UOW é/ hoor)HiS
?Z:€r l l/Uoc)/c:[ ike -éo be QL[€,

move m¥ £amily \`vv+o mv hoUM,

 

 

 

 

    
      

 

 

 

 

.._ am c}j'm}) @ --b [FH`:U/M’LC~€ |/YL\I hoc/51
hoi` ii imman -w/ \/\ouje for 03 »{~o \mMQ '
' L\r)

 

 

 

l\

T f`€>S/fojvlzr}l\/ f`

§§ (`@i/i£\r\m , ‘ ~é i/\e 1`5\ Wo
<{~ov i/)J_l wall/§ ~L/Q Jr€quli`emer){“
O‘i@/ adil[il_{`@ On¢¢ ~ 322 h¢;§. DQHCQ £[/0)'>)

“H~L §}icf`l fig

 

 

 

 

 

 

 

 

 

 

 

CaS€ 8-19-71382-&8'[ DOC 3 Filed 02/26/19 Entered 02/26/19 17206:23

RETURN DATE:

 

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: X Case No. g " 43 `_q'/(B 2 } ‘q~$€

640er Walq' Cha‘”e“ 1

Debtor(s)

 

X

 

ORDER TO SHOW CAUSE

Upon the annex applicatio of Movant, pr \m S)\'e e+r| -}seeking en of
an Order to LOh \¥'W] jl-ef`€ \_5 N’) `§éc("'# OY) CVI( 10 I/)

CQ$€, z'[;OGfQG% 'l$l,/A/ l
a mrs 0 ` r`€ l ,itis

 

 

 

 

ORDERED that show cause at [I o’clock
on the date of or as soon thereafter as Movant may be heard before the
Honorable_ Bankruptcy Judge in Courtroom at United
States Bankruptcy Court located at , Why this Court

 

should not enter an Order to

 

 

ORDERED that service of this Order to Show Cause together with the application be

 

 

 

served on or before the end of the business day on , upon
, and
upon the Trustee at and United

 

States Trustee.

ORDERED that obj ections, if any, to the relief requested shall be made in Writing, shall
Set forth With particularity, the grounds for such objection and shall be filed With the Clerk of the

Court along with an extra copy marked “Chambers Copy,” Trustee, United States Trustee, and
the Movant on or before ; and it is further

 

ORDERED that the hearing scheduled herein may be adjourned by the Court, from time
to time, Without iiirther notice other than announcement of the adjourned hearing date in open

court.

Dated:

 

United States Bankruptcy Judge

m' + Case -19-71382-ast Doc 3 Filed 02/26/19 Entered 02/26/19 17:06:23
@>( \b)
__‘_________,'-_-__\

'Nassau County Distr-ic_t :C`oui't - lst District

LANDLORD TENAN!l`
Aloni~She'etrit

. In"dex Number: LT-006696-18/NA
vs.

Ge_o,ge WM et al ll| lllll llll|ll|ll|l lll ||llllllllll|l|||l l|l l ll!l ll|

\ 67 WARRANT OF EVICTION
1` 0 THE SHER'IFF OF NASS_AU COUNTY

Final decision in_favor.of thepetitioner(s_) has been granted based on the judgment of possession entered in the Nassau

_County District Court'.~ lst Di`stri'ct on '01/04/2019, which awarded the.petitioner(s) the delivery of then premises
_ (1) Alon Sheet'rit

Thc`refore, you arc commanded to remove the respondent(s), listed below:
(l) `Geo,rge. Watt

(2) Laura Watt

(3)|1]ohnu ¢lDOel\

(4). "Jane"~ “Doe"

x

And all other persons from the following described premises, located in the County of Nassau and to put said petitioner(s) m
full possession thereof:

(1)4_29 Bambrick Street, Oceanside_, NY 11572
Said‘property is further described as: Lot and Dwelling

Witness, Honorahle ScottlFai~rgrie_ve é//
District Court Judge\ 4 k . '"
Dated: 0’1'/04/2019

_ 'onorable Se`o_tt Fair`grieve
Sequence lA ' Distr~ict Court Ju.d_g“e
Execution.of theWarrant is Stayed to and including 021 118/2019

 

Generat`ed 01/04/2019 at 11:\1'0 AM Page_ lof 1

 

 

C)U'S_T;S- Jf§1382- -aSt DOC 3 Filed O2/26/19 Entered O2/26/19 17. 06. 23

€>m"b

 

  
 
 

 

 

Disiri;cjt Conrt of Nassau County Date /2 /S/`/§/
_ , _1 ` 27 Ind'ex N'ulnber, c .
l W:)istrict' (/17_?§§ 2 Part ' _' ,?/ ' `,
55 I.;/g 717/77 S.TZIPULATLON oF sE.TTLEMENT
'" ` v le, e parties understand th `at each party lies
Plaintifii`($) /Petih'oner(s), the right to a trial-, the right to. see a fudge at any

time and the right not to enter a _stzpulatfolz,vf

against settlement Howeve)', after a review of all the issues,

 

§ 7 f 1 ' the parties agree tlzat`t/zey do 1207 want to go to trial
and instead agree to the following stipulation in
Defeiidant(s) ,/Respondent(s) settlement of the issues in this matter:

 

72222220225 2221 215 52 1055)2/2;1155/1122
&1)1\2<¢@’¢ Céj§» //W§ 72 791 27 60 UL 0 ////7!/7:@/§;/;4/¢/
1122/225 12 72 2 17 1122 552/2251 525?2:55
77 152/521 212 § 2112 1222 522 7 1225 17552112225
2271/7 /‘121222/?522 5//7/5) 777 2641/6502 72517 7§77’/2,/ /7§/7

//~7`/ 22773 0/120%/€ K)///Z///~ 212 121217/1”7/52 50 125/f
2707/75 51£0) t/Mé Az»/ 2/¢>/1/~»
/%72 /712/;72,1127' /1~/ 77117 /’Y/FoL/£/f/w’»/ 42 1271/2
52 755 1255 72 775571_1 515 715 521/2522/
75 1219/7 0€/[5§//2//1%' 1@ Wnll/A%fl/; 217 77a/7 1:> 11»/
57 // O// ¢J/HKQ@M/ PMOf/o~//v W)/,S Y//j
j 121%5/115512227212/5222
.. Q151171~~227222,//21222152 1117 512/f 13 7 55
71 22721222225135 51 552")212/222 /511,122.22222
1512 111/1112222 511/2222 12172§11/115222 l 1222 _
123/1177 1521 75 san 527172112 722111517152522%7

9127/1;»/: F¢;/L 125/572 > _5122'2¢1%////1/ 514/75555/5¢1//1/

DC4 M -34 2 4/00

 

     

 

   

 

ease 8-19-71332-11131 Doca Filed 02/26/19 Entered02/26/1917:06:23
U.='ILED= NASSAU couN'rY cLERK 12[§872018 02=33 PH| INDEX NO' 609341/2°17

NYSCEF Doc. No. 47 b l ` ' RECEIVED NYSCEF: 12/28/2018
( § )( 1b § 62

SUPREME COURT OF THE S'_I`ATE OF NEW YORK

 

 

COUNTY OF NASSAU
1 X
Citibank NA,
REFEREE'S REPORT
Plaintii`f, OF SALE
-against- Index No.: 609341/2017

George M. Watt afk/a George Watt, Laura Watt, Kristin
Watt, "John Doe" (Refused Name),

Defendants.

 

X
TO THE SUPREME COURT OF THE STATE OF NEW YORK, COUNTY OF NASSAU

I, Wayne H. Wink, Jr., Esq., the Referee appointed by the ludgrnent made and entered in this
action, entered on August 01, 2018 to sell the mortgaged premises therein particularly described, do
respectfully report as follows:

.,ElRSl : Thatl caused due notice of the time and date of sale of said mortgaged premises to
be given and published according to law and the rules and practice of this Court, as will fully appear
by the affidavits annexed, and the sale was had at 11:30 a.m. on September}25, 2018 at Courtroom
of the Supreme Court Mineola, 100 Supreme Court Drive, The Calendar Control Part (CCP),
Mineola, NY.

SECOND: That at the time and place for which said sale was noticed, as aforesaid, I
attended in person, and in accordance With such notice, offered the said mortgaged premises for sale

to the highest bidder, and sold the same to Alan Sheetrit for the sum of $270,000.00 that being the
highest sum bid therefor.

THIRD: That at the time of the aforementioned sale, the purchaser gave me a down payment
of $27,000.00, ten (10%) percent of the Amount'of the successful bid.
FOURTH: That I have received my fee for such sale in the sum of $250.00.

_ FIFTH: That the Plaintiff has paid for advertising expenses, as shown by the bill(s) annexed
hereto. '

SlXTH: That I have made, executed and delivered to said purchaser's attorney a good and
sufficient deed of conveyance for the said mortgaged premises so sold.

lof 11

 

 

Case 8-19-71382-ast Doc3 Filed 02/26/19 Entered 02/26/19 17:0€_5:23
[FILED: NASSAU coUNTY cLERK 12/28/2018 02:33 PM] INDEX NO- `609341/2°17

NYSCEF DOC. NO. 47 l/),! , 62 RECEIVED NYSCEF: 12/28/2018

SEVENTH: That the following statement made a part of this report, shows the several items
aforesaid and the manner of computation:

 

STATEMENT
Amount due to Plaintiffas per Judgment $ 80,069.99
Interest on Judgment Amount from 5/1/18 through 8/1/18 at 3.74% ......... $ 762.60
Interest on Judgrnent Amount from 8/2/ 18 through 10131/ 18 at 9.0% ....... $\' 1,796.34
Plaintiffs costs and disbursements ................................................. ; ............. $ 2,340.00
Plaintiffs additional allowance ..................................................................... $ 300.00
Interest on Costs, Disbursernents, Allowance and Legal Fees from Judgment
to sale date l 88/2/1 through 10/31/18) ........................................................ $ ‘ 59.15
Referee's fee to sell .............................................. l .................... ' .................... $ 250.00
Advertising expense` ...................................... $ 442.40
Sub-Total $ 86,020.48
Liens Pursuant to RPAPL §1354 _
Real Estate Taxes ........................................................................................ $ 3,660.08
Water/Sewer Liens ................................................ $ 0.00
Total ' s 89,680.56
LESS: Purchase price ................................................................................. ($270,000.00)
SURPLUS $180,319.44

DATED Joé?¢€

Our File No.:0l-085329-F00

 

20f ll

 

386 8-19-71382-&8'[ DOC 3 Filed 02/26/19 Eiitei’ed 02/26/19 17206:23

@<S}i/}j f Cas `19'71382-asi Doc 1 l=iled 02/26/19 Eniereo 02/26/19 11;17:18
l §§ . n
f

bebtori @E/|JKM _ /J WF . case numbermmwm

Flrsl Name Mdiila Name test Numo

mAnswer These Questions for Reporting Piirposes

16a. Are yourl debts primarily consumer debts? Cpnsumer debts are denned in 11 U.S.C. § 101(8)

 

1°' What kind °f debts`d° ' as “incurred by an individual primarily for a personal, family, or household purpose."
you have? '
§)lo./oo io line 1sb.
. Yes. Goio line 17. .

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
rl;]onyfor a business or investment or through the operation of _the business or investment.

No. Go to line 16c.
ij Yes. Go to line 17.

16c. State jig type of debts you owe that are not consumer debts or business debts.

/'/'4 air/b migraine l cze~O.i/>’ _Cf)-@D

17. Are you filing under M _ .
Chapter 77 @/o` l am not ti|ing underChapter 7. Go to line 18.
Ye

s. l am tiling under Chapter 7. Do you estimate that alter any exempt property is excluded and

Do you estimate that after _ _ _ ,
ladjmi{stratlve expenses are paid that funds will be available to distribute to unsecured creditors?

any exempt property is

excluded and Na
administrative expenses
are paid that funds will be m Yes,

available for distribution
to unsecured creditors?

ia. How many creditors do _ 3/1-49 CJ 1 ..000-5 000 ' iii 25,001-50.000
you estimate that you ij en nn . , "_`1 53911" c"" ill 50,001-100,000

D 100-199 U 10.001-25.000 Cl ivioretnan . '
Ei 200-999 . -

 

 

 

 

  
   
  
     

 

 
   
 

rs. How much do you Ei o-sso.ooo El 51.000.001-510 million ' Ei 5500.000.001-51 billion .
estimate your'a$$eis to _ 550,001-3100,000 El 510.000,001-$50 million iii 51.000,000.001-510 billion
be W°"¢h? Ei $100,001-$500,000 0 550.000.001-5100 million iii s10.000.000,001-550 billion

E_l ssoo.ooi-si million El 5100,000.0`01-$500 million D ivlore than sso billion

 

      

 

    

zo. Ho_w much do you Ci so-sso.ooo - 10 million Ei $500.000,001-51 billion
estimate your liabilities Ci 0.001-3100,000 D _sio. 000 001- sso million , . '
i° be? 5100,001-5500.000 El sso.ooo,ooi-sioo million Ei sio,ooo.ooo.ooi-sso billion
Ei ssoo,ooi-si million ij 5100.000,001-5500 million ij iviore ivan sso billion '

Part 7. Sign Belovlr

l have examined this petition, and | declare under penalty of perjury that the information provided is true and
F°i` you correct.

if l have chosen to file under Chapter 7. i am aware that l may proceedl if eiiglble. under Chapter 7. 11;12. or 13
of title 11, United States Code. l understand the relief available under each chapter. and l choose to proceed
under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, i have obtained and read the notice required by 11 U.S.C. § 342(b).

` l request relief in accordance with the chapter of title 11, United States Code. specified in`this petition,

l understand making a false statement concealing property. or obtaining money or property by fraud in connection
with a bankruptcy case can resuit' in lines up to $250, 000, or imprisonment for up to 20 years. or both
18 U S.C. §§ 152. 1341_,1519. and 3571.

X/Qgrz 13a/b X '

Signature of Debtor 1 l Slgnature of Debtor 2

Execuied on 912 %2931§ Execuied on __________
MM /D lilva k MM/ DD /WW

Officlal Form 101 Voiuntary Petltion for individuals Flilng for Bankruptcy page 6

